 Case: 1:17-md-02804-DAP Doc #: 5827 Filed: 12/19/24 1 of 2. PageID #: 658792




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                 CLEVELAND DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION

THIS DOCUMENT RELATES TO:
Michael Masiowski, MD.,
On behalf of himself and all others                   Member Case #: 1:18-op-45985-DAP
similarly situated,
Plaintiff
v.                                                    Judge Dan Aaron Polster
                                                      (MDL 2804)
Amerisourcebergen Drug Corporation et al,             Lead case: 1:17-md-02804-DAP

Defendants.


NOTICE OF FILING AMENDED EXHIBIT A IN SUPPORT OF PLAINTFF’S MOTION
                      FOR LEAVE TO AMEND


       Plaintiff Masiowski hereby notifies the Court, and all other interested parties, of filing

Amended Exhibit A, In Support of Plaintiff’s Motion for Leave to Amend [Doc. 33] in No. 18-

op-45985 And [Doc. 5582] in 1:17-md-2804.



Dated: December 19, 2024

                                                      Respectfully submitted,
                                                      /s/ Paul S. Rothstein
                                                      Attorney Paul S. Rothstein
                                                      Florida Bar Number: 310123
                                                      Attorney Paul S. Rothstein, P.A.
                                                      626 N.E. 1st Street
                                                      Gainesville, FL 32601
                                                      (352) 376-7650
                                                      (352) 374-7133
                                                      E-Mail: psr@rothsteinforjustice.com
 Case: 1:17-md-02804-DAP Doc #: 5827 Filed: 12/19/24 2 of 2. PageID #: 658793




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this December 19, 2024, I electronically filed the
foregoing NOTICE OF FILING AMENDED EXHIBIT A IN SUPPORT OF PLAINTFF’S
MOTION FOR LEAVE TO AMEND with the Clerk of Court by using the CM/ECF system.
Copies will be served upon counsel of record by, and may be obtained through, the Court
CM/ECF system.


                                                 /s/ Paul S. Rothstein
                                                 Paul S. Rothstein
